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Exhibit F
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DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

- My name is Clifford Thomas. I am over eighteen years of age and competent
to testify to the matters contained herein.

. [am a resident of Fulton County in Georgia and my residence address is
1303 Camelot Drive, Collge Park, GA, 30349.

. [have lived at my current address for nearly thirty years.

. Iam a registered voter, though I haven’t voted in a long time. I can’t
remember the last time I voted.

. I haven’t voted because I didn’t like any of the candidates. I didn’t think that
they would be able to solve the issues I care about.

. A Fair Fight Action staff member called me and told me I am on the list of
voters who will be purged. This was the first I had learned of this purge. I
have not received anything from the Secretary of State’s office about my
voter status or about being removed from the rolls.

- I don’t think it’s right that someone could be removed from the rolls just
because they haven’t voted. I may want to vote in the future and want to stay
on the rolls.

. I give this Declaration freely, without coercion, and without any expectation

of compensation or other reward.
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9. [understand that in giving this Declaration, that I am not represented by a
lawyer. Nor has any lawyer asked me to be their client or to serve in anyway
as anything other than a witness in this litigation.

10. I declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the /& 4 day of De . , 2019.

Coffad- dD. NYornba-
Sighature

Clifford Thomas

